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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

    UNITED STATES OF AMERICA §
                                                   § No. 6:20-CR-97-06
    v.                              §
                          § JUDGES JCB/JDL
    JOHN ERIC RETIZ (06) §

                                ELEMENTS OF THE OFFENSE

            You are charged in Count 1 of the indictment with a violation of 21 U.S.C. § 846

   (conspiracy to possess and possession with intent to distribute a controlled substance).

   The essential elements which must be proven to establish violation of this offense are as

   follows:

                                               Count 1

                                           21 U.S.C. § 846

   First:          That within the time frame alleged in the indictment, you and other persons,
                   directly or indirectly, reached an agreement to distribute a controlled
                   substance, namely, methamphetamine, a Schedule II controlled substance;

   Second          That you knew of the unlawful purpose of the agreement;

   Third:          That you joined in the agreement willfully, that is, with the intent to
                   further its unlawful purpose;

   Fourth:         That the conspiracy involved 50 grams or more of actual
                   methamphetamine or 500 grams or more of a mixture or substance
                   containing a detectable amount of methamphetamine; and

   Fifth:          That you knew or reasonably should have known that the scope of
                   the conspiracy involved 50 grams or more of actual
                   methamphetamine or 500 grams or more of a mixture or substance
                   containing a detectable amount of methamphetamine.


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                                                      NICHOLAS J. GANJEI
                                                      ACTINGU.S. ATTORNEY

                                                      /s/ D. Ryan Locker
                                                      D. RYAN LOCKER
                                                      Assistant U.S. Attorney
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                             CERTIFICATE OF CONFERENCE

           I certify that I have consulted with counsel for the defendant on or about the date
   of filing, and said counsel does not oppose the filing of this notice.

                                                      D. Ryan Locker
                                                      D. RYAN LOCKER
                                                      Assistant U.S. Attorney




                                 CERTIFICATE OF SERVICE

          I certify that I have this day served counsel for the defendant with a true and
   correct copy of this pleading by the court s CM/ECF electronic filing system.

                                                      D. Ryan Locker
                                                      D. RYAN LOCKER
                                                      Assistant U.S. Attorney




   Elements of the Offense
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